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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


STEVEN GREER,
                                                No. 15-CV-06119 (AJN) (JLC)
                   Plaintiff,

     - against -

DENNIS MEHIEL, ROBERT SERPICO, THE
BATTERY PARK CITY AUTHORITY, HOWARD
MILSTEIN, STEVEN ROSSI, JANET MARTIN,
MILFORD MANAGEMENT and MARINERS COVE
SITE B ASSOCIATES,

                   Defendants.




                   MEMORANDUM OF LAW IN SUPPORT OF
                  THE BATTERY PARK CITY AUTHORITY AND
             ROBERT SERPICO’S MOTION FOR SUMMARY JUDGMENT




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        Defendants the Hugh L. Carey Battery Park City Authority (“BPCA”) and Robert

Serpico (“Serpico,” and together with the BPCA, the “BPCA Defendants”) respectfully submit

this Memorandum of Law in support of their Motion for Summary Judgment.

                                   PRELIMINARY STATEMENT

        Following the Court’s September 30, 2016 order granting in part the BPCA Defendants’

motion to dismiss, only two claims remain: (1) First Amendment retaliation claim against the

BPCA and Serpico, and (2) First Amendment equal access claim against the BPCA. The record,

after discovery, contains no evidence to support either of these claims. Contrary to Plaintiff’s

baseless allegation that the BPCA and Landlord Defendants1 conspired to evict him from his

apartment in retaliation for his blog posts, the evidence proves that the BPCA Defendants played

no role whatsoever in his eviction. In fact, Plaintiff’s landlord, acting alone, declined to renew

his lease because Plaintiff failed to pay his rent on time, was in arrears, and was the subject of

complaints by other tenants. It is beyond dispute, moreover, that Plaintiff unsuccessfully

contested his eviction in housing court; at the end of those proceedings, a final judgment of

possession was issued in favor of the Landlord Defendants, together with a warrant of eviction.

In the face of overwhelming, uncontradicted evidence that the BPCA Defendants played no role

his eviction, and that he had only himself to blame for losing his apartment, Plaintiff would have

this Court require the BPCA Defendants to stand trial based on nothing more than an eye roll and

a shrug. One witness, former BPCA employee Kirk Swanson, testified that he asked Serpico if

Serpico had been involved in the non-renewal of Plaintiff’s lease, and that in response Serpico

rolled his eyes and shrugged. This shrug and eye roll, which comprise the sum total of Plaintiff’s

evidence of any BPCA Defendant’s role in his eviction, cannot support a reasonable inference of


1
       The BPCA Defendants use the term “Landlord Defendants” to refer to all defendants other than the BPCA
Defendants.

                                                      1
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an unlawful conspiracy in violation of Plaintiff’s constitutional rights. Accordingly, summary

judgment is warranted in favor of the BPCA Defendants on Plaintiff’s retaliatory eviction claim.

         Plaintiff’s claim that he was excluded from a BPCA board meeting in violation of his

First Amendment rights is likewise unsupported by any proof. The record is replete with

evidence of Plaintiff’s prior, documented history of threatening and abusive behavior, which was

directed at both BPCA staff and members of the BPCA community. That prior history of

misconduct, coupled with Plaintiff’s disruptive behavior at the BPCA board meeting in June

2015 – which Plaintiff admitted at his deposition – caused the BPCA Chairman to take steps to

ensure public safety and the orderly conduct of BPCA business. The BPCA’s solution – making

available a live video and audio feed of the next BPCA board meeting at a room in a separate

building – was reasonably tailored to those goals and did not impair Plaintiff’s ability to gather

and report on the news. The record contains not one shred of evidence to the contrary.

Accordingly, summary judgment in favor of the BPCA is also warranted on Plaintiff’s exclusion

claim.

         Finally, even if a material question of fact existed as to either of Plaintiff’s remaining

claims – which is not the case – the BPCA and Serpico (in his official capacity) are entitled to

summary judgment because Plaintiff cannot show that the allegedly unconstitutional acts were

performed pursuant to a municipal policy or custom, as is required under Monell v. Department

of Social Services of the City of New York, 436 U.S. 658 (1978), and its progeny.

                                    FACTUAL BACKGROUND

         For the relevant factual background, the BPCA Defendants refer the Court to their

Statement of Material Facts filed pursuant to Local Rule 56.1 (cited herein as 56.1 ¶ __).




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                                                 ARGUMENT

        Summary judgment is appropriate where “the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.

R. Civ. P. 56. A dispute is “genuine” only “if the evidence is such that a reasonable jury could

return a verdict for the nonmoving party.” Weinstock v. Columbia Univ., 224 F.3d 33, 41 (2d

Cir. 2000). Because there are no genuine disputes as to any material facts, and the evidence is

insufficient to support a verdict in Plaintiff’s favor on either of his remaining claims, summary

judgment in favor of the BPCA Defendants is warranted.

I.      THERE IS NO EVIDENCE THAT THE BPCA DEFENDANTS CONSPIRED
        WITH THE LANDLORD DEFENDANTS TO EVICT PLAINTIFF FROM HIS
        APARTMENT

        Although it is beyond dispute that Plaintiff repeatedly failed to timely pay his rent, that

his landlord received complaints about him from his neighbors, and that he unsuccessfully

contested his eviction in housing court,2 Plaintiff claims that his eviction was the result of an

alleged conspiracy between the BPCA Defendants and Landlord Defendants in retaliation for his

blog posts. In light of the uncontroverted evidence that Plaintiff had defaulted on his lease, that

his eviction was previously litigated and held to have been proper, and the complete lack of

evidence to support the existence of any conspiracy, Plaintiff’s retaliatory conspiracy claim

cannot survive summary judgment.




2
         On March 13, 2015, Justice Arlene H. Hahn of the Civil Court of the City of New York Housing Part
ordered Plaintiff to pay nearly a year of unpaid use and occupancy fees to the Landlord Defendants for the continued
possession of his apartment. (See ECF No. 116-5 at 5.) After Plaintiff failed to pay this amount, on January 28,
2016, the Housing Court entered a money judgment against him in the amount of $44,135 “for unpaid use and
occupancy for the period of April 2014 to April 2015” and “awarded a final judgment of possession and the
forthwith issuance of the warrant of eviction” in favor of the Landlord Defendants. (See ECF No. 184-4 at 2.)
Consistent with the warrant of eviction, Plaintiff vacated his apartment in April 2016. (See 56.1 ¶ 13.)


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         An agreement is the “sine qua non of any conspiracy claim,” including a claim brought

under § 1983. See, e.g., Bailey v. Pataki, No. 08-CV-8563 (JSR), 2010 WL 234995, at *2

(S.D.N.Y. Jan. 19, 2010). “To prove a § 1983 conspiracy, a plaintiff must show: (1) an

agreement between two or more state actors or between a state actor and a private entity; (2) to

act in concert to inflict an unconstitutional injury; and (3) an overt act done in furtherance of that

goal causing damages.” Pangburn v. Culbertson, 200 F.3d 65, 72 (2d Cir. 1999); see also

Ciambriello v. Cty. of Nassau, 292 F.3d 307, 324–25 (2d Cir. 2002). Here, with discovery

completed, there is no evidence – literally none – to support any of the required elements of

Plaintiff’s claim that the BPCA Defendants and the Landlord Defendants conspired to evict him

in retaliation for the exercise of his First Amendment rights.3

         There is no evidence of any relevant agreement to act in concert to inflict constitutional

injury, or of any overt acts in furtherance of the non-existent conspiracy. To the contrary, Steve

Rossi of Milford Management testified that he personally made the decision not to renew

Plaintiff’s lease, (see 56.1 ¶ 83), and that his decision was based upon Plaintiff’s failure to pay

his rent on time, as well as other tenants’ and building staff members’ complaints about Plaintiff.

(See id. ¶¶ 84, 86, 87.) Both Rossi and Serpico aver that Serpico played no role whatsoever in

that decision (see id. ¶¶ 82–87), and their testimony is uncontradicted. In fact, the only evidence

reflecting any communications between Serpico and Rossi about Plaintiff is a single email, in

which Serpico asked Rossi, “Is he now evicted ? Where is he living ?” (Serpico Decl. ¶ 6, Ex.



3
          In its September 30, 2016 Order, the Court construed Plaintiff’s eviction claim as a claim of “conspiracy to
engage in First Amendment retaliation.” Order at 6, ECF No. 177. To prove a claim of First Amendment
retaliation, a plaintiff must prove that “(1) he has a right protected by the First Amendment; (2) the defendant’s
actions were motivated or substantially caused by [plaintiff’s] exercise of that right; and (3) the defendant’s actions
caused him some injury.” Smith v. Campbell, 782 F.3d 93, 100 (2d Cir. 2015) (alteration in original). As discussed
infra, there is no evidence that the BPCA Defendants acted in any way to undermine Plaintiff’s constitutional rights,
that the BPCA Defendants’ actions were motivated in any way by Plaintiff’s exercise of any of his rights, or that the
BPCA Defendants’ actions caused Plaintiff any injury.

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1.) Serpico’s email to Rossi forwards an email that Serpico and Rossi (and others at Milford

Management, the BPCA, and the New York State Assembly) had received from Plaintiff just

minutes before, which states:

               As you are aware, the Second District Attorney, Preet Bharara, has
               informed state officials to not destroy any documents obtained in the
               Moreland Commission. I will be subpoenaing emails and phone
               records from your offices relating to my retaliatory eviction. If you
               delete any emails, digital video, etc you will be violating the law.

(Id.) Plainly, Serpico’s email to Rossi was prompted by Plaintiff’s email, in which Plaintiff

specifically referenced his “retaliatory eviction,” apprised Serpico and Rossi of the fact that he

would be “subpoenaing emails and phone records from your offices” relating to his eviction, and

warned them against “violating the law.” Moreover, Serpico’s email was sent in May 2014,

months after the decision not to renew Plaintiff’s lease had already been made. Accordingly, this

email, standing alone, cannot possibly support a reasonable inference that Serpico and Rossi

entered into an agreement of any kind, let alone that they conspired to remove Plaintiff from his

apartment. Nor can the fact that Serpico and Rossi were friendly and met over coffee several

times per year (see 56.1 ¶ 79) support such an inference. See, e.g., Fisk v. Letterman, 401 F.

Supp. 2d 362, 377 (S.D.N.Y. 2005) (“Alleging merely that a private party regularly interacts

with a state actor does not create an inference of agreement to violate a plaintiff’s rights.”); see

also Beechwood Restorative Care Ctr. v. Leeds, 436 F.3d 147, 154 (2d Cir. 2006) (same). Given

the complete absence of any probative evidence to prove either the existence of an agreement

between the BPCA Defendants and the Landlord Defendants relating to Plaintiff in any way, or

any overt act in furtherance of such an agreement, Plaintiff’s conspiracy claim necessarily fails.

       Likewise, the record contains no probative evidence to support Plaintiff’s claim that two

BPCA employees “confirmed” the existence of a conspiracy between Serpico and Rossi after-



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the-fact. (See Corrected Amended Complaint, ECF No. 85 (“CAC”) ¶ 66.) First, there is no

proof that Serpico communicated in any way (let alone “confirmed”) to then-BPCA employee

Kirk Swanson that Serpico “was responsible for the non-renewal letter sent to Plaintiff.” (Id.) In

fact, Swanson testified merely that he “asked Bob [Serpico] if he had anything to do with Greer

not getting his lease renewed, to which Bob visibly smirked, shrugged and didn’t answer my

question and walked away.”4 (Tremonte Decl. ¶ 9, Ex. 8 (“Swanson Dep.”) at 24:16–20.)

Swanson then added: “The subject might have come up in subsequent conversations and would

have elicited a similar response, an eye roll or something like that.” (Id. at 30:5–8 (emphasis

added).) This testimony is nonsensical. Even if Serpico did shrug and roll his eyes (“or

something like that”), such behavior would neither support Plaintiff’s conspiracy claim nor

provide probative evidence that “confirms” the existence of an unlawful conspiracy. To the

contrary, these gestures “could have meant any number of things, or nothing at all.” See Smith v.

Stratus Computer, Inc., 40 F.3d 11, 18 (1st Cir. 1994). In Smith, an employment discrimination

case, the First Circuit considered evidence that the plaintiff’s supervisor had “shrug[ged] in

response to her question about why she was being treated differently than a number of male

managers.” Id. at 17. The First Circuit held that the “shrug cannot be considered an admission

of discrimination” and that, because a shrug “could have meant any number of things, or nothing

at all,” evidence of the shrug carried “absolutely no probative force whatsoever.” Id. at 18. The

same reasoning applies here.




4
       Swanson is a disgruntled former employee of the BPCA who has filed his own federal lawsuit against the
BPCA alleging wrongful termination. See Swanson v. Battery Park City Auth., No. 15-CV-6938 (JPO) (S.D.N.Y.).


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         Second, there is no evidence to support Plaintiff’s allegation that another former BPCA

employee, Vince McGowan, “confirmed that the Serpico [sic] was working with other

Defendants to evict the Plaintiff by not renewing his lease.” (CAC ¶ 59.) The only item

produced in discovery that relates in any way to McGowan is an irrelevant, vague, and in any

event inadmissible5 email from McGowan to Plaintiff, dated January 12, 2014, which states: “it

is good to see that you appreciate what we have on the West Side[.] Hope you can stay[.]”

(Tremonte Decl. ¶ 16, Ex. 15.) Accordingly, there is simply no support in the record for

Plaintiff’s claim that anyone at all “confirms” Serpico (or anyone else from the BPCA) played a

role in the alleged conspiracy behind the non-renewal of Plaintiff’s lease.

         Absent any evidence of an agreement related to Plaintiff’s tenancy, or of any overt acts

by Serpico (or anyone else) to advance this alleged conspiracy to evict Plaintiff, no reasonable

jury could find that the BPCA Defendants participated in a conspiracy to remove Plaintiff from

his apartment at all, much less in retaliation for the exercise of his First Amendment rights.

Accordingly, the Court should enter summary judgment for the BPCA Defendants on Plaintiff’s

retaliatory eviction claim.6




5
          As inadmissible hearsay, the Court should not consider this email in deciding the instant motion. See, e.g.,
Raskin v. Wyatt Co., 125 F.3d 55, 66 (2d Cir. 1997) (“[O]nly admissible evidence need be considered by the trial
court in ruling on a motion for summary judgment”).
6
          Additionally, the BPCA Defendants adopt in their entirety all arguments made by the Landlord Defendants
in support of summary judgment. In particular, the BPCA Defendants note that the record contains ample evidence
that Plaintiff fell behind in his rent payments and was the subject of complaints by other residents and staff of 200
Rector Place. (See 56.1 ¶¶ 83–86.) Because the Landlord Defendants have shown that they would have taken the
same actions against Plaintiff even if he had not engaged in protected First Amendment activity, Plaintiff’s First
Amendment retaliation claim cannot survive summary judgment. See, e.g., Isaac v. City of New York, 701 F. Supp.
2d 477, 496–97 (S.D.N.Y. 2010) (“Because defendants have shown that they would have taken the same actions
even if plaintiff had never filed the lawsuit, and plaintiff has failed to offer evidence of a causal connection, no
rational fact finder could decide in plaintiffs favor . . . .”); see also Cotarelo v. Vill. of Sleepy Hollow Police Dep’t,
460 F.3d 247, 251–52 (2d Cir. 2006) (holding that, even if plaintiff provides evidence of First Amendment
retaliation, “the defendant can still prevail on a motion for summary judgment if it can show that it would have taken
the same adverse . . . action even in the absence of the protected conduct” (internal quotation marks omitted)).

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II.     THE BPCA DEFENDANTS DID NOT VIOLATE PLAINTIFF’S FIRST
        AMENDMENT RIGHTS BY EXCLUDING HIM FROM THE BPCA
        BOARDROOM ON JULY 29, 2015

        The undisputed facts demonstrate that Plaintiff was excluded from the July 29, 2015

BPCA board meeting (the “July Meeting”) as a result of his well-documented history of threats

and verbal abuse toward BPCA personnel and his disruptive behavior at a prior meeting, and not

because of the content of his blog posts. There is no evidence (although Plaintiff would certainly

possess and have produced such evidence if it existed) that his exclusion meaningfully impacted

his ability to gather the news; it is undisputed that Plaintiff was able to view and report on the

July Meeting – as it happened, in real time – from a separate facility. There is no evidence that

this arrangement impaired Plaintiff’s ability to gather information from members of the BPCA

board; as a matter of policy, the BPCA board did not at any time relevant to this lawsuit respond

to questions posed by members of the press and public at board meetings. (See 56.1 ¶¶ 67–76.)

Indeed, at the time of the July Meeting, members of the public were not permitted to comment

during BPCA board meetings. (See id. ¶ 67.) Under these circumstances, given Plaintiff’s

documented history of threatening and abusive conduct, the decision to keep him physically

separated from, but able to view and report on the July Meeting as it was happening, was

justified, appropriately limited, and did not offend the First Amendment.

        In the First Amendment context, the Second Circuit has articulated the requirement of

equal access thus: “once there is a public function, public comment, and participation by some

of the media, the First Amendment requires equal access to all of the media.”7 Am. Broadcasting

Cos., Inc. v. Cuomo, 570 F.2d 1080, 1083 (2d Cir. 1977). That requirement is not absolute,



7
      In its September 30, 2016 Order, the Court construed Plaintiff’s meeting exclusion claim as a First
Amendment equal access claim. Order at 10–12, ECF No. 177.


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however. WPIX v. League of Women Voters, 595 F. Supp. 1484, 1489 (S.D.N.Y. 1984). Accord

Huminski v. Corsones, 396 F.3d 53, 55–59 (2d Cir. 2005) (holding that the First Amendment

right of access to court proceedings is subject to reasonable restrictions). Crucially, the

government may impose “a restriction which affords different degrees of access to members of

the press” so long as that restriction is “not content-based,” is “rationally related to the

accomplishment of a legitimate governmental purpose” and “outweigh[s] the systemic benefits

inherent in unrestricted (or lesser-restricted) access.” Stevens v. N.Y. Racing Ass’n, Inc., 665 F.

Supp. 164, 175 (E.D.N.Y. 1987) (citing D’Amario v. Providence Civic Center Auth., 639 F.

Supp. 1538, 1542 (D.R.I. 1986), aff’d, 815 F.2d 692 (1st Cir. 1987)); see also Nicholas v. City of

New York, No. 15-CV-9592 (JPO), 2017 WL 766905, at *5 n.2 (S.D.N.Y. Feb. 27, 2017).8 As

this Court agreed at the motion to dismiss stage, “certain restrictions on attendance at public

meetings do not offend the First Amendment,” so long as those restrictions are “‘reasonably

tailored to meet the legitimate goals of the exclusion.’” Order at 11, ECF No. 177 (quoting

Huminski, 396 F.3d at 59).

        Here, the record is devoid of evidence that Plaintiff was excluded because of his First

Amendment activities. BPCA Chairman Dennis Mehiel – who made the decision to exclude

Plaintiff from the BPCA boardroom – testified that he did not even read Plaintiff’s blog. (56.1

¶ 66.) And there is no evidence that Plaintiff was denied entry because of the content of his

reporting. To the contrary, other reporters who had previously published articles critical of the

BPCA were allowed to attend the July Meeting. (See 56.1 ¶¶ 64–65.)

        There is abundant evidence, however, that Plaintiff consistently engaged in disruptive,

abusive, and threatening behavior towards BPCA personnel and members of the Battery Park


8
         Citing D’Amario, the Sixth Circuit has adopted the same standard of reviewing restrictions on a reporter’s
access. See S.H.A.R.K. v. Metro Parks Serving Summit Cty., 499 F.3d 553, 560 (6th Cir. 2007).

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City community, and that this conduct factored into Mehiel’s decision to exclude Plaintiff from

the boardroom – a decision that bore a clear rational relationship to the legitimate governmental

purposes of ensuring the orderly conduct of the BPCA board’s business (which is integral to the

smooth continued operations of BPCA) and the safety of BPCA staff and board members. First,

Plaintiff’s exclusion followed his particularly disruptive behavior at the immediately preceding

board meeting on June 9, 2015 (the “June Meeting”). After the public portion of that board

meeting had ended, Kevin McCabe, the BPCA’s Chief of Staff, began clearing the room so that

the BPCA board could enter executive session. (56.1 ¶ 43.) Plaintiff refused to leave even

though everyone else, as Plaintiff put it, “obeyed like sheep.” (Id. ¶ 47.) Plaintiff then began

shouting questions at Chairman Mehiel, even as McCabe told Plaintiff that he needed to leave

the room. (Id. ¶ 47.) Plaintiff left the BPCA boardroom only after McCabe warned Plaintiff that

McCabe would call the police. (Id. ¶ 48.) Even after Plaintiff left the boardroom, he lingered in

the BPCA reception area and walked around the BPCA’s private offices without authorization,

photographing, and filming those areas without permission. (Id. ¶ 50.) Plaintiff’s disruptive

behavior at the June Meeting is undisputed – indeed Plaintiff admitted it in his deposition (see

56.1 ¶ 47) – and provided ample justification for Mehiel’s decision to restrict Plaintiff’s physical

access to the BPCA boardroom at the following meeting of the BPCA board.

       Second, Mehiel was well aware of Plaintiff’s documented history of abusive and

threatening conduct when he made the decision to exclude Plaintiff from the BPCA boardroom.

That history included, among other things, reports that Greer had stalked a summer camp

director (see 56.1 ¶ 20(a)), harassed children for playing soccer on a park lawn (see id. ¶ 20(b)),

used abusive and threatening language in communications with BPCA staff – such as calling a

receptionist a “lying piece of trash” (id. ¶ 26) – and contacted BPCA staff on their personal cell



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phones (id. ¶¶ 21–25, 33–36). In addition, in 2015, McCabe felt physically threatened by

Plaintiff when he leaned his shoulder into McCabe and asked, “Do you have a problem?” (Id.

¶ 30.) On another occasion, Plaintiff called BPCA attorney Seema Singh a “cunt” – language so

abusive that, according to Serpico, Singh was visibly upset. (Id. ¶ 28.)

         The limited restriction imposed upon Plaintiff – requiring him to view the July Meeting

from a separate room – was reasonably tailored to achieve the goal of ensuring the business of

the BPCA board could be conducted in an orderly fashion, and the record contains no evidence

that it impaired Plaintiff’s ability to gather the news in any way. Plaintiff asserts that he was

unable to ask questions from the viewing room, but this claim is specious; it is undisputed that

the BPCA did not allow its members to answer public questions or respond to comments from

the community.9 Moreover, the evidence proves that Plaintiff knows full well he would not have

been able to ask questions; as he himself reported, on May 3, 2016, “BPCA Chairman [Mehiel]

still refuses to allow public questions at board meeting.” (See id. ¶ 71.) Thus, the record is

devoid of support for – and indeed contradicts – Plaintiff’s allegation that he could have asked

questions at the July Meeting, had he been permitted inside the boardroom.

         Moreover, Plaintiff has admitted that he did not need to be physically present at BPCA

board meetings to effectively report on them (see 56.1 ¶¶ 60–62), and there is no evidence that

his reporting benefitted from his physical presence at BPCA board meetings. Although Plaintiff

complains of his inability to videotape the meetings, the BPCA streams its board meetings in in

real time over the Internet (see id. ¶ 57); in any event, Plaintiff himself admitted that it was not

necessary to film BPCA board meetings that he attended because “I know it is being web cast.”



9
        The BPCA also did not allow public comments during its board meetings until a change of policy in
October 2016 – well after the July 29, 2015 board meeting. (See 56.1 ¶ 67, 73.) Indeed, Plaintiff took credit for the
change in policy in a blog post on October 19, 2016. (See id. ¶ 75.)

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(See 56.1 ¶ 62.) Indeed, “[c]ourts have generally held that there is no constitutional right to

videotape public proceedings, particularly where the public has an alternative means of gathering

information, such as making an audio recording or taking notes.” Malta v. Slagle, No. 05-CV-

342S, 2007 WL 952045, at *5 (W.D.N.Y. Mar. 29, 2007) (citing cases). Moreover, the evidence

indicates that Plaintiff posted still photographs that were related to the content of the articles, but

that did not depict board meetings. (See 56.1 ¶ 63.)

         In a similar context, the Second Circuit has held that “officials must at least have the

ability to close the courtroom door to any person whom they reasonably think may pose a threat

to person, property, or decorum.” Huminski, 396 F.3d at 86–87. Outside this Circuit, other

courts have upheld similar restrictions upon access to public proceedings to promote public

safety and preserve decorum. See, e.g., Mesa v. Hudson Cty. Bd. of Chosen Freeholders, No.

CIV.A. 09-3576 KSH, 2011 WL 4592390, at *6 (D.N.J. Sept. 30, 2011) (holding that the

plaintiff’s “repeated outbursts [were] the kind of “truculent” and “disruptive” behaviors that

justify removing a citizen from a public meeting to maintain order and decorum and to prevent a

speaker from hijacking a meeting” (internal citations and quotation marks omitted)); Thornton v.

City of Kirkwood, No. 07-CV-79 (CDP), 2008 WL 239575, at *5 (E.D. Mo. Jan. 28, 2008)

(“Thornton’s comments were irrelevant and repetitive, and his truculent attitude was disruptive

to the city council meeting. As such, the restraint on his speech was constitutional.”); see also

Timothy B. Dyk, Newsgathering, Press Access, and the First Amendment, 44 Stan. L. Rev. 927,

954 (1992) (“[A]n individual member of the press can and should be barred at least temporarily

if he engages in disruptive behavior . . . .”).10 Similarly, in this case, the record establishes that


10
         Similarly, in Eichenlaub v. Township of Indiana, the Third Circuit evaluated a meeting exclusion claim
within the framework of a forum analysis, and held that the plaintiff’s “repetitive and truculent” behavior during a
public meeting was the sort of restriction “that passes muster under the most stringent scrutiny for a public forum.”
385 F.3d 274, 281 (3d Cir. 2004).

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the decision to exclude Plaintiff from the BPCA July Meeting was content neutral, rationally

related to the legitimate governmental purposes of maintaining safety, order, and the smooth

continued operations of a governmental entity, and outweighed the benefits inherent in

unrestricted access. Accordingly, the Court should grant summary judgment on this claim in

favor of the BPCA Defendants.

III.     THE BPCA AND SERPICO (IN HIS OFFICIAL CAPACITY) ARE ENTITLED
         TO SUMMARY JUDGMENT BECAUSE NEITHER OF THE ALLEGED
         CONSTITUTIONAL VIOLATIONS WERE COMMITTED PURSUANT TO AN
         OFFICIAL POLICY OR CUSTOM

         Even if this Court determines that a triable issue of fact exists as to whether Plaintiff’s

constitutional rights have been violated by the BPCA Defendants – and there is not – summary

judgment should be entered in favor of the BPCA and Serpico (in his official capacity) on both

of Plaintiff’s remaining claims because Plaintiff cannot prove that the alleged constitutional

violations were committed pursuant to an official BPCA policy or custom.

         Under Monell v. Department of Social Services of the City of New York, 436 U.S. 658

(1978), a municipality may be held liable under 42 U.S.C. § 1983 only “for constitutional

violations caused by acts committed pursuant to ‘official policy.’” Turpin v. Mailet, 619 F.2d

196, 197 (2d Cir. 1980). Thus, “a municipality cannot be held liable solely because it employs a

tortfeasor – or, in other words, a municipality cannot be held liable under § 1983 on a respondeat

superior theory.” Monell, 436 U.S. at 691. This limitation on municipal liability under § 1983

applies equally to public benefit corporations such as the BPCA.11




11
         See, e.g., Estes-El v. State Dep’t of Motor Vehicles Office of Admin. Adjudication Traffic Violation Bureau,
No. 95-CV-3454 (JFK), 1997 WL 342481, at *4 (S.D.N.Y. June 23, 1997) (holding that liability of a public benefit
corporation “is governed by the principles set forth in Monell”); see also Byrd v. Metro. Transit Auth., No. 15-CV-
1364 (JG)(RLM), 2015 WL 4546718, at *2 (E.D.N.Y. July 28, 2015); Eslin v. Hous. Auth. of Town of Mansfield,
No. 11-CV-134 (JCH), 2012 WL 113666, at *3 (D. Conn. Jan. 13, 2012).

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       As an initial matter, Plaintiff’s Corrected Amended Complaint fails to allege that the

alleged constitutional violations were committed pursuant to any “official policy” of the BPCA.

For this reason alone, the Court should dismiss the claims against the BPCA. However, even if

the Court is inclined to look beyond the pleadings, summary judgement should be granted with

respect to the claims against the BPCA, for the reasons set forth below.

       An “official policy” can take one of four forms: “(1) a formal policy officially endorsed

by the municipality; (2) actions taken by government officials responsible for establishing the

municipal policies that caused the particular deprivation in question; (3) a practice so consistent

and widespread that it constitutes a custom or usage sufficient to impute constructive knowledge

of the practice to policymaking officials; or (4) a failure by policymakers to train or supervise

subordinates to such an extent that it amounts to deliberate indifference to the rights of those who

come into contact with the municipal employees.” Allan v. City of New York, 386 F. Supp. 2d

542, 545 n.3 (S.D.N.Y. 2005) (internal citations omitted). Only the first two forms of official

policy are conceivably relevant here, as Plaintiff has never suggested that he was the victim of

either a consistent and widespread practice or a failure to train or supervise subordinates

amounting to “deliberate indifference.”12 As discussed more fully below, because Plaintiff

cannot prove either: (1) the existence of a formal policy; or (2) that any official responsible for

establishing BPCA policy caused the alleged deprivation of his rights, the BPCA is entitled to

summary judgment.

       First, there is no evidence whatsoever that the BPCA has any officially approved, formal

policy that caused the alleged retaliatory conspiracy to evict plaintiff from his apartment; nor is




12
       In any event, nothing in the record supports either of these theories of Monell liability.

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there any evidence that the BPCA has any officially approved, formal policy that caused

Plaintiff’s exclusion from in-person attendance at the July 29, 2015 BPCA board meeting.

        Second, there is no evidence that either of the alleged constitutional violations were the

result of an action of a BPCA official responsible for establishing the BPCA policies, as defined

by law. This second species of “official policy” arises only where an official possessing “final

authority” over the government’s policies “with respect to the action ordered,” Pembaur v. City

of Cincinnati, 475 U.S. 469, 481 (1986), directs the alleged violation. As the Supreme Court and

Second Circuit have emphasized, “the critical inquiry is not whether an official generally has

final policymaking authority; rather, the court must specifically determine whether the

government official is a final policymaker with respect to the particular conduct challenged in

the lawsuit.” Roe v. City of Waterbury, 542 F.3d 31, 37 (2d Cir. 2008) (emphasis added).

        With respect to the supposedly unconstitutional non-renewal of his lease, there is no

evidence that anyone at BPCA, whether a final policymaker or not, took any action related to the

non-renewal of Plaintiff’s lease. See Point I, supra. Even if this Court were to determine that

there was a triable issue of fact in this regard (which it should not), Plaintiff’s “retaliatory

conspiracy” claim against BPCA should be dismissed because Plaintiff does not even allege any

involvement on the part of a final policymaker. Plaintiff contends that his eviction was the result

of an alleged conspiracy between Robert Serpico of the BPCA and Steve Rossi of Milford

Management. (See Tremonte Decl. ¶ 3, Ex. 2 (“Greer Dep.”) at 98:23 – 104:14.) Rossi, of

course, was not a BPCA official at all. With respect to Serpico, the BPCA’s Chief Financial

Officer at the time (see 56.1 ¶ 78), as a matter of law, neither Serpico nor any other single person

at the BPCA possessed the final policymaking or legal authority to cause the non-renewal of a

lease between any Battery Park City landlord and an individual tenant, or to cause the eviction of



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an individual tenant from his apartment, as such authority lies solely with the Landlord

Defendants. (See 56.1 ¶¶ 4–5.) Thus, even assuming the existence of proof that Serpico

conspired with others to evict him (and there is none), Serpico’s alleged role in the conspiracy

cannot establish liability on the part of the BPCA.

        Likewise, Plaintiff's exclusion from the July Meeting was not the result of an action by

someone with “final authority” over such matters. The evidence shows that Mehiel, acting in his

capacity as Chairman of the BPCA board, denied Plaintiff access to the BPCA boardroom during

the July Meeting based on Plaintiff’s disruptive conduct at the prior board meeting, as well as

Mehiel’s awareness of Plaintiff’s prior history of inappropriate and harassing behavior. (See

56.1 ¶¶ 51, 53.) That Mehiel acted within the scope of his authority does not by itself create

liability for the BPCA. Under Monell, “[i]t does not suffice for these purposes that the official

has been granted discretion in the performance of his duties.” Jeffes v. Barnes, 208 F.3d 49, 57

(2d Cir. 2000). Instead, “a policymaker has ‘final’ authority over official policy under Monell

only if her power to act is unreviewable under state law.” Guan N. v. NYC Dep’t of Educ., No.

11-CV-4299 (AJN), 2014 WL 1275487, at *14 (S.D.N.Y. Mar. 24, 2014) (Nathan, J.) (emphasis

added). While Mehiel correctly acted within the scope of his authority in deciding to exclude the

Plaintiff from the July Meeting based on Plaintiff’s disruptive behavior, the BPCA board could

have, if it so chose, reviewed Mehiel’s decision. (See 56.1 ¶ 54; N.Y. Pub. Auth. Law §1970, et

seq.) Accordingly, as a matter of law, Plaintiff cannot establish Monell liability against the

BPCA on his exclusion claim. See, e.g., Birmingham v. Ogden, 70 F. Supp. 2d 353, 374

(S.D.N.Y. 1999) (granting summary judgment where, given the absence of “some evidence of

state law that vests final authority in the Board of Police Commissioners to establish personnel

policy for the City of Middletown . . . , plaintiff has failed to raise a disputed issue of fact as to



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whether the defendant City dismissed him pursuant to an unconstitutional policy or practice”);

Ramos v. City of New York, No. 96-CV-3787, 1997 WL 410493, at *3 (S.D.N.Y. July 2, 1997)

(granting summary judgment in favor of defendant New York City Housing Authority because

the Authority’s board, rather than its chairman, who allegedly discriminated against plaintiff, had

final policymaking authority).

         For these reasons, under Monell, the BPCA is entitled to summary judgment on both of

Plaintiff’s remaining claims. See, e.g., Carter v. Cty. of Suffolk, No. 12-CV-1191 (JFB) (ARL),

2013 WL 6224283, at *4 (E.D.N.Y. Dec. 2, 2013) (“Because there is absolutely no evidence of

an unconstitutional policy, practice, or custom by the County, the Court concludes that the

County is entitled to summary judgment on plaintiffs’ Section 1983 claim.”); Sheikh v. City of

New York, Police Dep’t, No. 03-CV-6326 (NGG), 2008 WL 5146645, at *12 (E.D.N.Y. Dec. 5,

2008) (granting summary judgment for municipal defendant where “Plaintiff [had] not, after

considerable discovery, identified any actual policies or customs of the New York City Police

Department . . . that caused an alleged deprivation of her constitutional rights”).13

IV.      EVEN IF PLAINTIFF COULD ESTABLISH A VIOLATION OF HIS FIRST
         AMENDMENT RIGHTS, THERE IS NO EVIDENCE TO SUPPORT AN AWARD
         GREATER THAN NOMINAL DAMAGES

         For the reasons set forth above, the BPCA Defendants cannot be held liable on either of

Plaintiff’s remaining claims. However, even assuming arguendo that either of Plaintiff’s claims

were supported by sufficient evidence to proceed to trial – and they are not – the Court should

limit Plaintiff to nominal damages, because there is simply no evidence that any of Plaintiff’s


13
          For the same reasons, Serpico is also entitled to summary judgment to the extent he is sued in his official
capacity. See, e g., Kentucky v. Graham, 473 U.S. 159, 166 (1985) (holding that “in an official-capacity suit the
entity’s ‘policy or custom’ must have played a part in the violation of federal law” because an official capacity suit
“is not a suit against the official personally, for the real party in interest is the entity”); Patterson v. Cty. of Oneida,
N.Y., 375 F.3d 206, 226 (2d Cir. 2004) (“[W]hen the defendant sued for discrimination under § 1981 or § 1983 is a
municipality – or an individual sued in his official capacity – the plaintiff is required to show that the challenged
acts were performed pursuant to a municipal policy or custom” (internal citation omitted))

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claimed damages were proximately caused by the alleged constitutional violations. See, e.g.,

Kerman v. City of New York, 374 F.3d 93, 123 (2d Cir. 2004) (holding that plaintiff who cannot

prove compensable injury “is entitled only to nominal damages”).

         The Supreme Court has instructed courts to consider the common law of torts in shaping

principles of damages under § 1983. See Memphis Cmty. Sch. Dist. v. Stachura, 477 U.S. 299,

306 (1986); Carey v. Piphus, 435 U.S. 247, 258–59 (1978). As a general matter, “[a] finding

that the plaintiff has been deprived of a constitutional right does not automatically entitle him to

a substantial award of damages.” Kerman, 374 F.3d at 123. Instead, the plaintiff must prove that

the constitutional violation was the proximate cause of an actual injury. See, e.g., Gibeau v.

Nellis, 18 F.3d 107, 110 (2d Cir. 1994); McCann v. Coughlin, 698 F.2d 112, 126 (2d Cir.

1983).14 “If the causal connection between the constitutional violation alleged and the

deprivation of property is ‘too tenuous,’ then the deprivation of property is not a proximate cause

of the injury alleged.” Phillips v. City of New York, 871 F. Supp. 2d 200, 206 (E.D.N.Y. 2012).

         A.       There is No Evidence to Support Plaintiff’s Claims
                  for Lost Profits and Lost Income Damages

         Plaintiff claims that the BPCA Defendants’ actions caused his companies BatteryPark.TV

and The Healthcare Channel to lose between $7 and $100 million in value. (See Tremonte Decl.

¶ 10, Ex. 9 at 5.) He also claims an additional $20 million in “[r]eputation damage” based upon

his asserted earning potential as a medical doctor. (Id.) These claims are entirely speculative,

unsupported by evidence, and too attenuated from the alleged constitutional violations to support

an award of compensatory damages.



14
          “For example, when a defendant has deprived the plaintiff of liberty or property without affording him a
hearing as required by the Due Process Clause, but the defendant proves that the adverse action would have been
taken even if a proper and timely hearing had been held, the plaintiff has not proved compensable injury and is
entitled only to nominal damages.” Kerman, 374 F.3d 123 (citing Carey, 435 U.S. a 260–63).

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         Lost profits or a loss in a company’s value, like other categories of compensable injuries,

“must be proven with sufficient certainty and not be speculative.” H & P Research, Inc. v. Liza

Realty Corp., 943 F. Supp. 328, 331 (S.D.N.Y. 1996). See, e.g., Stanczyk v. City of New York,

752 F.3d 273, 278 (2d Cir. 2014) (holding that district court properly instructed jury not to award

compensatory damages for “speculative injuries”); Wallace v. Suffolk Cty. Police Dep’t, 809 F.

Supp. 2d 73, 82 (E.D.N.Y. 2011) (“To recover damages for lost income, plaintiff must prove by

a preponderance of the evidence that the causal connection between defendants’ retaliatory

action and his injury is ‘sufficiently direct.’” (quoting Gierlinger v. Gleason, 160 F.3d 858, 872

(2d Cir. 1998))). Thus, to recover lost profits under New York law, “a business must have been

established and in operation for a definite period of time and calculations based on other similar

businesses are too speculative and will not satisfy the requirement that a reasonable means of

calculating the amount be provided.” H & P Research, 943 F. Supp. at 331 (emphasis added,

and internal brackets and quotation marks omitted).

         Here, Plaintiff has failed to produce any admissible evidence supporting his outlandish

figures of lost business value ($7 to $100 million) or lost profits ($20 million). Plaintiff premises

these figures exclusively upon comparisons between his companies and purportedly comparable

businesses and medical practices.15 (See Greer Dep. at 231:12 – 232:6, 234:19 – 239:12.)


15
         At his deposition, Plaintiff claimed that The Healthcare Channel was comparable to a company called
everyday Health, but that Plaintiff’s company did not have the same valuation as everyday Health because “they got
$10 million thrown their way or something and could hire staff, and I have not.” (Greer Dep. at 222:18–22.)
However, when asked whether Plaintiff had sought financing, Plaintiff refused to answer the question. (Id. at
222:23 – 223:8.) By failing to answer basic questions about his own companies, Plaintiff has failed to produce
sufficient evidence to support a claim for compensatory damages based upon any losses in his companies’ values.

         Moreover, although Plaintiff was evasive about his history as a medical doctor during his deposition, it
appears that Plaintiff has not practiced medicine – with the exception that he continues to write prescriptions for
himself, friends, and family members – for the past seventeen years. (See Greer Dep. at 270:24 – 273:4.) Thus, the
alleged $20 million medical practice would be a new venture for Plaintiff, and any valuation of this business would
be wholly speculative. See, e.g., RMLS Metals, Inc. v. Int’l Bus. Machines Corp., 874 F. Supp. 74, 76 (S.D.N.Y.
1995) (holding that it was “impossible to calculate lost profits” because the venture at issue “was in essence a new
business for plaintiff”).

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Plaintiff did not disclose an expert willing to testify on these matters. The Federal Rules of

Evidence do not permit Plaintiff to testify of these matters as a lay witness. See Fed. R. Evid.

701, 702. Indeed, comparable businesses, even in the hands of an expert, “can rarely provide a

stable basis for a damages calculation because ‘the ultimate conclusions are still projections’ that

rely on ‘known or unknown factors.’” Washington v. Kellwood Co., No. 05-CV-10034 (SN),

2016 WL 3920348, at *8 (S.D.N.Y. July 15, 2016) (quoting Kenford Co. v. Erie Cty., 493

N.E.2d 234, 236 (N.Y. 1986)). To the extent Plaintiff possesses any factual support for his

figures, he has expressly refused to produce it. At Plaintiff’s deposition, he refused to provide

any information about the profitability of his companies or the details of his planned medical

practice, claiming that these issues are irrelevant and not discoverable. (See Greer Dep. at 36:19

– 37:8, 43:4 – 45:14, 48:11 – 50:4, 117:21 – 119:6, 222:3 – 224:3, 227:16 – 229:14.) Thus, there

is no evidence to suggest Plaintiff’s damages figures are anything more than speculation and

guesswork.

       Because no rational factfinder could determine the lost value or profits claimed by

Plaintiff with “reasonable certainty,” the Court should grant summary judgment for the BPCA

Defendants with respect to Plaintiff’s claim for lost profits and the lost value of his media

companies. See, e.g., Dockery v. Tucker, No. 97-CV-3584 (ARR) (RLM), 2006 WL 5893295, at

*26 (E.D.N.Y. Sept. 6, 2006) (recommending “that defendants be granted summary judgment

with respect to plaintiff’s damages claim for lost profits” because “no rational fact-finder could

calculate with ‘reasonable certainty’ the profits that would be owed to plaintiff as a result of any

wrongful conduct by defendants”), report & recommendation adopted in part, 2008 WL

2673307 (E.D.N.Y. June 26, 2008).




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        B.       There Is No Evidence to Support Plaintiff’s Claimed Mental Anguish

        Plaintiff claims that he suffered “mental anguish” as the result of the BPCA Defendants’

actions. (See generally Tremonte Decl. ¶ 11, Ex. 10.) Yet the evidence of mental anguish in the

summary judgment record falls far short of the standard set forth by the Second Circuit, which

holds that “[a] plaintiff’s subjective testimony, standing alone, is generally insufficient to sustain

an award of emotional distress damages.” Patrolmen’s Benevolent Ass’n of City of New York v.

City of New York, 310 F.3d 43, 55 (2d Cir. 2002). “Rather, the plaintiff’s testimony of emotional

injury must be substantiated by other evidence that such an injury occurred, such as the

testimony of witnesses to the plaintiff’s distress, or the objective circumstances of the violation

itself.” Id. (internal citations omitted).

        First, Plaintiff’s claims of public humiliation are not supported by any evidence of

physical or emotional symptoms. Plaintiff asserts that the decision to exclude him from the

BPCA boardroom on July 29, 2015, caused him “mental anguish” because he “was publicly

humiliated . . . by being singled out in the lobby of the BPCA offices.” (See Tremonte Decl.

¶ 11, Ex. 10 at 3.)16 No evidence supports this conclusory assertion of public humiliation, which

does not suffice as a matter of law in light of Annis v. County of Westchester, 136 F.3d 239 (2d

Cir. 1998). In Annis, the plaintiff “testified that she was humiliated by the discrimination she

endured,” id. at 244, but the Second Circuit held that such testimony was “insufficient to warrant

an award of compensatory damages” for emotional distress, id. at 249. Similarly, in this case,

Plaintiff cannot recover emotional distress damages as compensation for “humiliation” stemming

from his exclusion from the BPCA boardroom on July 29, 2015. Cf. Uddin v. New York City /



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         Plaintiff has not provided any other evidence of emotional damages allegedly caused by the boardroom
exclusion. Indeed, at his deposition, Plaintiff refused to answer questions about alleged mental anguish. (See Greer
Dep. at 268:5–19.)

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Admin. for Children’s Servs., No. 99-CV-5843 (GEL), 2001 WL 1512588, at *6 (S.D.N.Y. Nov.

28, 2001) (“Unlike in Annis, where the plaintiff only testified to being humiliated and

embarrassed, Uddin pointed to concrete emotional problems having tangible physical

consequences . . . .”).

        Plaintiff has provided only minimally more detail concerning the mental anguish

allegedly caused by his eviction; at his deposition, Plaintiff testified in general terms that he

suffers from high blood pressure, depression, and trouble sleeping. (See Greer Dep. at 261:17–

20, 269:8–11.) Yet Plaintiff has failed to testify about his symptoms in any detail, failed to

produce any medical records documenting his symptoms, and, indeed, failed to come forward

with any evidence corroborating his vague deposition testimony. In other words, other than

Plaintiff’s vague and subjective testimony, there is no evidence to support Plaintiff’s claim for

mental anguish damages. Under Patrolmen’s Benevolent Association, this evidence is

insufficient to support an award of damages for claimed mental anguish.

        C.      Plaintiff Cannot Recover Expenses Incurred After His Eviction

        Plaintiff claims various “moving” costs, but the claimed expenses are well beyond what

any factfinder would regard as reasonably foreseeable costs of being evicted. See, e.g., Monette

v. Cty. of Nassau, No. 11-CV-539 (JFB) (AKT), 2015 WL 1469982, at *18 (E.D.N.Y. Mar. 31,

2015) (holding that “§ 1983 defendants remain responsible only for damages that are

reasonabl[y] foreseeable”). Specifically, Plaintiff claims $50,000 in moving costs, which

includes the cost of a Mercedes-Benz sedan for $19,089.25, an oil change and car service for

$2,239.55, and the costs of four moves – including long-term stays at the Ritz Carlton and Hyatt

hotels – until Plaintiff ultimately settled in Ohio. (See Tremonte Decl. ¶ 10, Ex. 9 at 5; Greer

Dep. at 246:16 – 248:21, 249:2–22.) Such expenses cannot be regarded as reasonably



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foreseeable consequences of an eviction and, consequently, are not recoverable. If anything,

they demonstrate that Plaintiff has not satisfied his duty to mitigate his damages – a duty that

applies with full force to § 1983 plaintiffs. See Miller v. Lovett, 879 F.2d 1066, 1070 (2d Cir.

1989). The duty to mitigate “encourages a plaintiff to react sensibly and cautiously to the harm

imposed by the defendant.” Ridgeview Partners, LLC v. Entwistle, 354 F. Supp. 2d 395, 403

(S.D.N.Y. 2005).17

         Similarly, Plaintiff cannot recover the ethereal personal value he placed on the lease

itself. Plaintiff claims $1 million in damages for the loss of his apartment lease. Plaintiff’s

premise, however, that the value of his lease equals the “sale value” of the apartment (see

Tremonte Decl. ¶ 10, Ex. 9 at 5) is obviously flawed. There is no evidence that Plaintiff was

unable to find a replacement lease for a similar apartment on similar terms; indeed, following his

eviction, Plaintiff admittedly never made an effort to rent another apartment in Battery Park City

at all. (See Greer Dep. at 256:25 – 258:17.) The record contains no evidence supporting this

category of damages or Plaintiff’s $1 million valuation.

         Finally, Plaintiff cannot recover damages to compensate him for the back rent that the

New York Housing Court ordered him to pay. Plaintiff would have paid this amount in rent had

he not been evicted and continued to live in the Battery Park City apartment. Thus, an award of

back rent would place Plaintiff in a better position than he would have been but-for his eviction,

and would therefore violate the most basic principle of compensatory damages. See Figueroa-

Rodriguez v. Aquino, 863 F.2d 1037, 1046 (1st Cir. 1988) (holding that award of damages that




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         For instance, Plaintiff claims that his “litigation costs” include meals at Bobby Van’s ($33.31), the NoMad
($86.71), Augustine ($54.36), Upland ($34.30), Chinese Tuxedo ($73.24), the Clocktower ($86.37), Jean Georges
($58.22), and the Writing Room ($135.41). (See Tremonte Decl. ¶¶ 24–25, Exs. 23–24.) The BPCA Defendants
reserve the right to contest Plaintiffs’ costs and fees should Plaintiff prevail in this litigation.

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put § 1983 plaintiff “in a better position than had his rights not been violated” was “both

inappropriate and unnecessary”).

         D.      As a Public Benefit Corporation, the BPCA Is Immune from Punitive
                 Damages under 42 U.S.C. § 1983

         Finally, Plaintiff seeks punitive damages against the BPCA. See CAC ¶ Relief 1.

However, it is well established that a public benefit corporation enjoys immunity from punitive

damages under 42 U.S.C. § 1983. See, e.g., Tanvir v. LaPorte, No. 93-CV-6923 (JGK), 1997

WL 473084, at *3–4 (S.D.N.Y. June 13, 1997); Majer v. Metro. Transp. Auth., No. 90-CV-4608

(LLS), 1992 WL 110995, at *4 (S.D.N.Y. May 7, 1992); see also City of Newport v. Fact

Concerts, Inc., 453 U.S. 247, 271 (1981). Accordingly, the Court should dismiss Plaintiff’s

claim for punitive damages against the BPCA.

                                         CONCLUSION

         For the reasons set forth above, the Court should grant the BPCA Defendants’ Motion for

Summary Judgment in its entirety.

Dated:        June 19, 2017
              New York, New York


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